               Case 2:19-cv-00569-JCC Document 100 Filed 06/30/21 Page 1 of 7




 1

 2

 3

 4

 5

 6

 7
                                                                      The Honorable John C. Coughenour
 8

 9                                   UNITED STATES DISTRICT COURT
                                    WESTERN DISTRICT OF WASHINGTON
10                                            AT SEATTLE

11
        WASHINGTON CATTLEMEN’S
12      ASSOCIATION,                                           No. 2:19-CV-0569-JCC
13                                Plaintiff,                   JOINT STATUS REPORT AND
14                                                             STIPULATED MOTION TO FURTHER
              v.                                               STAY PROCEEDING
15
        UNITED STATES ENVIRONMENTAL                            NOTE ON MOTION CALENDAR:
16      PROTECTION AGENCY, et al.,                             JUNE 30, 2021
17                                Defendants.

18             And
19      PUGET SOUNDKEEPER ALLIANCE,
20      IDAHO CONSERVATION LEAGUE, and
        SIERRA CLUB,
21
                                  Defendant-
22                                Intervenors.
23

24

25

26

27

     Joint Status Report/Stip.to Further Stay Proceeding                    U.S. Dept. of Justice/ENRD
     2:19-CV-0569-JCC                                                             P.O. Box 7611
                                                           1                 Washington, D.C. 20044
                                                                                  (202) 514-1806
               Case 2:19-cv-00569-JCC Document 100 Filed 06/30/21 Page 2 of 7




 1           Pursuant to Local Rules 7(d)(1) and 10(g) and in accordance with this Court’s Order,

 2   Dkt. No. 99 (May 24, 2021), Plaintiff, Defendants (“the Agencies”),1 and Intervenor-Defendants

 3   hereby submit this joint status report and jointly move to further stay the above-captioned

 4   proceeding until October 1, 2021. The Parties have good cause for this request:

 5           1.       In this proceeding, Plaintiff is challenging three rules promulgated by the

 6   Agencies that define the phrase “waters of the United States” in Section 1362(7) of the Clean

 7   Water Act: the Clean Water Rule: Definition of “Waters of the United States,” 80 Fed. Reg.

 8   37,054 (June 29, 2015) (“2015 Rule”), the Definition of “Waters of the United States” –

 9   Recodification of Pre-Existing Rules, 84 Fed. Reg. 56,626 (Oct. 22, 2019) (“2019 Rule”), and

10   The Navigable Waters Protection Rule: Definition of “Waters of the United States,” 85 Fed. Reg.

11   22,250 (Apr. 21, 2020) (“2020 Rule”).

12           2.       Plaintiff initiated this lawsuit on April 16, 2019, first challenging the 2015 Rule.

13   Dkt. No. 1. Plaintiff then moved to preliminarily enjoin the 2015 Rule. See Dkt. No. 15. On

14   December 30, 2019, the Court denied Plaintiff’s first motion for preliminary injunction on the

15   grounds that the Repeal Rule rendered the motion “moot.” Dkt. No. 61.

16           3.       Plaintiff then filed two supplemental complaints. First, on December 20, 2019,

17   Plaintiff added claims to its complaint, challenging the Repeal Rule. Dkt. No. 60. Second, on

18   May 4, 2020, Plaintiff added claims challenging portions of the NWPR. Dkt. No. 72.

19           4.       On July 31, 2020, this Court stayed Plaintiff’s claims with respect to the 2015

20   Rule and Repeal Rule. Dkt. No. 86. The Court noted that the Parties “may move to lift the stay

21   following the Court’s ruling on the merits of Plaintiff’s claims regarding the 2020 Rule.” Id.

22           5.       Plaintiff filed a motion to preliminarily enjoin, in part, the NWPR on June 15,

23   2020. Dkt. No. 77. That motion is still pending.

24

25   1
      EPA Administrator Michael Regan and Acting Assistant Secretary of the Army for Civil Works
26   Jaime Pinkham are automatically substituted for their predecessors in office pursuant to Rule
     25(d) of the Federal Rules of Civil Procedure.
27

     Joint Status Report/Stip.to Further Stay Proceeding                   U.S. Dept. of Justice/ENRD
     2:19-CV-0569-JCC                                                            P.O. Box 7611
                                                           2                Washington, D.C. 20044
                                                                                 (202) 514-1806
                Case 2:19-cv-00569-JCC Document 100 Filed 06/30/21 Page 3 of 7




 1             6.     On August 27, 2020, Defendants filed a motion to consolidate this case with

 2   Puget Soundkeeper Alliance, et al. v. United States Environmental Protection Agency, et al.

 3   (2:20-CV-0950-JCC). Dkt. No. 87. That motion is also still pending.

 4             7.     There are no other outstanding motions or deadlines before the Court in this

 5   matter.

 6             8.     On January 20, 2021, President Biden issued an Executive Order entitled

 7   “Executive Order on Protecting Public Health and the Environment and Restoring Science to

 8   Tackle the Climate Crisis.” 86 Fed. Reg. 7037 (Jan. 25, 2021) (“EO 13990”). In conformance

 9   with the Executive Order, the Agencies began reviewing a number of regulations promulgated

10   in the last four years, including the NWPR at issue in this case.

11             9.     In light of this directive, on February 2, 2021, the Parties filed a stipulated motion

12   to stay the proceeding for 90 days to accommodate the Agencies’ review of the NWPR. Dkt. No.

13   94. The Court granted the motion on February 8, 2021, staying the case until May 1, 2021. Dkt.

14   No. 95.

15             10.    On April 29, 2021, the Agencies filed a motion to continue the stay until July 1,

16   2021. Dkt. No. 97. The Agencies noted that Michael Regan had only recently been sworn in as

17   EPA Administrator and that the review of the NWPR was ongoing. Id. To provide sufficient

18   time to allow the new Administrator to make an informed decision regarding the NWPR, the

19   Agencies asked that the Court extend the stay until July 1. Id. While Plaintiff initially opposed

20   the motion, Plaintiff subsequently informed the Agencies it would no longer oppose the motion,

21   once it learned that the Agencies were prepared to make an announcement regarding the NWPR

22   by early June. Dkt. No. 98. Ultimately, on May 24, 2021, the Court granted the motion to

23   continue this proceeding until July 1, 2021. Dkt. No. 99.

24             11.    On June 9, 2021, the Agencies issued a press release stating that, after reviewing

25   the NWPR, they have decided to initiate new rulemaking to revise the definition of “waters of

26   the United States.” See https://www.epa.gov/newsreleases/epa-army-announce-intent-revise-

27   definition-wotus (last accessed June 25, 2021).

     Joint Status Report/Stip.to Further Stay Proceeding                     U.S. Dept. of Justice/ENRD
     2:19-CV-0569-JCC                                                              P.O. Box 7611
                                                           3                  Washington, D.C. 20044
                                                                                   (202) 514-1806
               Case 2:19-cv-00569-JCC Document 100 Filed 06/30/21 Page 4 of 7




 1           12.      In light of this new rulemaking, the Parties all agree that the stay in the proceeding

 2   should be extended another three months, until October 1, 2021, when the Parties can then

 3   reassess how this litigation should proceed. By October 1, 2021, the Parties will file a joint status

 4   report and proposal(s) to further govern proceedings. Granting this motion will not prejudice any

 5   party and would promote judicial economy.

 6           13.      To be sure, the Agencies have filed motions to remand the NWPR without vacatur

 7   in a number of other proceedings where the NWPR is being challenged. See Conservation Law

 8   Foundation v. EPA, 20-cv-10820-DPW (D. Mass.) at Dkt. No. 113 (June 9, 2021); South

 9   Carolina Coastal Conservation League, et al. v. Regan, et al., 2:20-cv-01687-BHH (D.S.C.) at

10   Dkt. No. 140 (June 21, 2021); Waterkeeper Alliance, Inc., et al. v. Regan, et al., 3:18-cv-03521-

11   RS (N.D. Cal.) at Dkt. No. 111 (June 22, 2021); Navajo Nation v. Regan, et al., 2:20-cv-00602-

12   MV-GJF (D.N.M.) at Dkt. No. 32 (June 22, 2021). Notwithstanding these filings, the Parties

13   here agree that it would be appropriate to further hold this litigation in abeyance for now. The

14   Agencies may decide to file a similar motion to remand the NWPR in this proceeding at a later

15   date.

16           14.      Accordingly, the Parties request to stay this proceeding until October 1, 2021.

17   This stipulated motion is without prejudice to the right of any party to seek a further stay at the

18   end of the abeyance period. The Parties retain the right to move this Court to lift the stay prior

19   to the end of the abeyance period if circumstances warrant resuming litigation.

20           15.      For the foregoing reasons, the Parties respectfully request that the Court stay this

21   proceeding until October 1, 2021. The Parties will file a joint status report and proposal(s) to

22   further govern proceedings by no later than October 1, 2021.

23   Dated: June 30, 2021                                  Respectfully submitted,

24

25

26

27

     Joint Status Report/Stip.to Further Stay Proceeding                     U.S. Dept. of Justice/ENRD
     2:19-CV-0569-JCC                                                              P.O. Box 7611
                                                           4                  Washington, D.C. 20044
                                                                                   (202) 514-1806
               Case 2:19-cv-00569-JCC Document 100 Filed 06/30/21 Page 5 of 7




 1
                                                           /s/ Hubert T. Lee             .
 2                                                         HUBERT T. LEE
                                                           SONYA J. SHEA
 3
                                                           Trial Attorneys
 4                                                         Environmental Defense Section
                                                           U.S. Department of Justice
 5                                                         P.O. Box 7611
                                                           Washington, DC 20044
 6                                                         (202) 514-1806 (Lee)
                                                           (303) 844-7231 (Shea)
 7
                                                           Hubert.lee@usdoj.gov
 8                                                         Sonya.Shea@usdoj.gov

 9                                                         COUNSEL FOR DEFENDANTS
10
                                                           /s/ Anthony L. Francois
11
                                                           ANTHONY L. FRANÇOIS
12                                                         DANIEL M. ORTNER
                                                           Pacific Legal Foundation
13                                                         930 G Street
                                                           Sacramento, California 95814
14                                                         Telephone: (916) 419-7111
                                                           Fax: (916) 419-7477
15                                                         Email: AFrancois@pacificlegal.org
                                                           Email: DOrtner@pacificlegal.org
16

17                                                         COUNSEL FOR PLAINTIFF

18
                                                           /s/ Janette K. Brimmer
19                                                         JANETTE K. BRIMMER
                                                           Earthjustice Northwest Office
20                                                         705 2nd Ave., Suite 203
                                                           Seattle, WA 98104
21                                                         Telephone: (206) 343-7340
22                                                         Email: jbrimmer@earthjustie.org

23                                                         COUNSEL FOR DEFENDANT-
                                                           INTERVENORS
24

25

26

27

     Joint Status Report/Stip.to Further Stay Proceeding                    U.S. Dept. of Justice/ENRD
     2:19-CV-0569-JCC                                                             P.O. Box 7611
                                                           5                 Washington, D.C. 20044
                                                                                  (202) 514-1806
               Case 2:19-cv-00569-JCC Document 100 Filed 06/30/21 Page 6 of 7




 1                                                [Proposed] Order
 2           It is ORDERED that the above-captioned proceeding be stayed until October 1, 2021.
 3           It is further ORDERED that the Parties file a joint status report and proposal(s) to
 4   further govern proceedings by no later than October 1, 2021.

 5   IT IS SO ORDERED.

 6                                                         _________________________________

 7                                                         Hon. John C. Coughenour
                                                           UNITED STATES DISTRICT JUDGE
 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

     Joint Status Report/Stip.to Further Stay Proceeding                    U.S. Dept. of Justice/ENRD
     2:19-CV-0569-JCC                                                             P.O. Box 7611
                                                             6               Washington, D.C. 20044
                                                                                  (202) 514-1806
               Case 2:19-cv-00569-JCC Document 100 Filed 06/30/21 Page 7 of 7




 1                                        CERTIFICATE OF SERVICE
 2           I hereby certify that on June 30, 2021, I filed the foregoing using the Court’s CM/ECF
 3   system, which will electronically serve all counsel of record registered to use the CM/ECF
 4   system.

 5

 6                                                               /s/ Hubert T. Lee

 7                                                               Hubert T. Lee

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

     Joint Status Report/Stip.to Further Stay Proceeding               U.S. Dept. of Justice/ENRD
     2:19-CV-0569-JCC                                                        P.O. Box 7611
                                                           7            Washington, D.C. 20044
                                                                             (202) 514-1806
